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                                  UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                               CRIMINAL HEARING MINUTES

     8/15/2023
Date ________________________________                               3:23-mj-709 (MEG)
                                                             Case #________________________________      1
                                                                                                    Dft #__________
                                                                               Maria E. Garcia
                                                               Honorable Judge _____________________________________

        UNITED STATES OF AMERICA                                           Sarah Santos
                                                              Deputy Clerk ________________________________________
                     Vs.                                            Katherine Boyles
                                                               AUSA ______________________________________________
          Gene DiGiovanni, Jr.
________________________________________                                             Martin Minella
                                                               Counsel for Defendant ________________________________

                                                                                         ☐ Retained       ☐ CJA           ☐FPD
           4:00 p.m.
Start Time__________          4:26 p.m.
                     End Time ____________                          Marina Davila and Karen Rubiano
                                                               USPO ______________________________________________
Recess (if more than ½ hr) ________ to _________                                 Courtsmart
                                                               Reporter/ECRO/FTR___________________________________
                                                               Interpreter______________________ Language ____________
                          26
Total Time _________hours _________minutes                     Hearing held ‫܆‬in person ‫ ܆‬by video ‫܆‬by telephone
HEARING AND TIME
 ☐ Initial Appearance ____          ‫ ܆‬Initial Appear. Rule 5     13
                                                                 ____    ☐ Detention           13
                                                                                               ____     ☐ Arraignment         ____
 ☐ Motion                  ____     ☐ Bond                       ____    ☐ Waiver/Plea         ____     ☐ Probable Cause ____
 ☐ Change of Plea          ____     ☐ Conflict                   ____    ☐ Evidentiary         ____     ☐ Extradition         ____
 ☐ Status Conference ____           ☐ Competency                 ____    ☐ In Camera           ____     ☐ Frye                ____


☐ Arrest or ‫܆‬Self surrender Date____________
                                     8/15/2023          ☐ Rule 5 charging district ______________________________
                                                                                   of Colombia

‫܆‬Case Unsealed                                          ‫ ܆‬Order appointing FPD
☐ Deft failed to appear                                 ☐ Order appointing Attorney ___________________________
                                                                                        Martin Minella (for District of Conn) (ORAL)

☐ CJA23 financial affidavit filed under seal            ☐ Set ATTY flag and notify grievance clerk
☐ Oral Brady Order entered and paper to issue           ‫ ܆‬Defendant waives right to proceed in-person
FILED IN COURT
 ☐ Complaint with affidavit               ‫ ܆‬Sealed Complaint with affidavit  ☐ Waiver of Indictment (case opening)
 ☐ Felony Information                      ☐ Misdemeanor Information                 ‫ ܆‬Waiver of Indictment (mid-case)
 ☐ Superseding Information                 ☐ Substitute Information                  ☐ Sealed Information

PLEA
Plea entered of ☐ NOT guilty ☐ guilty ☐ nolo contendere; As to counts ________________________
Plea agreement letter ‫ ܆‬filed ☐ under seal ☐ to be filed
☐ Petition to enter guilty plea filed

SENTENCING
‫܆‬Sentencing set for ________________________ at _______________
‫܆‬Probation 246B Order for PSI & Report filed
‫܆‬Special Assessment of $________ on count(s) _______. Total of $_________ ☐ due now ☐ due at sentencing


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ORDERS
☐ Waiver of Rule 5 hearing filed
☐ Defendant motions due__________________, Govt. responses due __________________
☐ Scheduling Order filed ☐ to be filed; ☐Sentencing scheduling order filed
☐ Hearing on pending motions scheduled for ___________________ at _________________
☐ Jury Selection set for ________________________ at__________________ before Judge______________________
‫ ܆‬Defendant’s motion for waiver of 10-day notice filed; ☐ Granted ‫܆‬Denied       ☐Advisement
______________________ hearing set for ___________________ ; continued until_____________________________

DETENTION
☐ Govt’s motion for pretrial detention filed ☐ Granted ☐Denied ☐Advisement
☐ Order of detention filed
☐ Bond set at $_______ ☐ reduced to $________ ; ☐Non-surety ☐Surety            ☐Personal recognizance
☐ Bond ☐revoked ☐reinstated            ☐continued     ☐modified
☐ No bond set at this time
☐ Order of temporary detention pending hearing filed
☐ Defendant detained
☐ Defendant ordered removed/committed to originating/other District of ______________________________

CONDITIONS OF BOND
☐ Connecticut restricted travel extended to______________________ upon obtaining permission from the USPO. A
    motion for any other travel with copies to the government and USPO must be filed and approved by the Court.
☐ Defendant must reside at ______________________________________________________________________.
☐ Defendant must report to USPO ____times a ☐week ☐month; ☐by telephone ☐in person ☐ at USPO discretion
☐ Defendant must surrender passport to the USPO ☐ must not apply for passport
☐ Defendant must refrain from possessing firearms or dangerous weapons
☐ Defendant must refrain from use or unlawful possession, or distribution of narcotic drug
☐ Defendant must maintain employment or actively seek employment
☐ As set forth in the Order Setting Conditions of Release
☐ Other _______________________________________________________________________________________
________________________________________________________________________________________________

MOTIONS
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted         ☐denied ☐advisement
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted         ☐denied ☐advisement
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted         ☐denied ☐advisement
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted         ☐denied ☐advisement

NOTES
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